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   8                       UNITED STATES DISTRICT COURT
   9                     CENTRAL DISTRICT OF CALIFORNIA
  10   ALEJANDRO RODRIGUEZ,                  ) Case No. CV-07-3239-TJH (RNBx)
       ABDIRIZAK ADEN FARAH,                 )
  11   YUSSUF ABDIKADIR, ABEL PEREZ          ) MEMORANDUM OF POINTS
       RUELAS, JOSE FARIAS CORNEJO,          ) AND AUTHORITIES IN
  12   ANGEL ARMANDO AYALA, for              ) SUPPORT OF PETITIONERS’
       themselves and on behalf of a class of) MOTION FOR COMPLIANCE
  13   similarly-situated individuals,       )
                                             ) Honorable Terry J. Hatter
  14                Petitioners,             )
                                             ) DATE: November 11, 2013
  15                v.                       ) TIME: Under Submission
                                             ) PLACE: Courtroom 17
  16   ERIC HOLDER, United States Attorney )
       General; JANET NAPOLITANO,            )
  17   Secretary, Homeland Security;         )
       THOMAS G. SNOW, Acting Director, )
  18   Executive Office for Immigration      )
       Review; TIMOTHY ROBBINS, Field        )
  19   Office Director, Los Angeles District )
       Immigration and Customs Enforcement; )
  20   WESLEY LEE, Officer-in-Charge, Mira )
       Loma Detention Center; et al.;        )
  21   RODNEY PENNER, Captain, Mira          )
       Loma Detention Center; SANDRA         )
  22   HUTCHENS, Sheriff of Orange County; )
       OFFICER NGUYEN, Officer-in-           )
  23   Charge, Theo Lacy Facility; CAPTAIN )
       DAVIS NIGHSWONGER, Commander, )
  24   Theo Lacy Facility; CAPTAIN MIKE      )
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  25   A. Musick Facility; ARTHUR            )
       EDWARDS, Officer-in-Charge, Santa     )
  26   Ana City Jail; RUSSELL DAVIS, Jail    )
       Administrator, Santa Ana City Jail,   )
  27                                         )
                    Respondents.             )
  28
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   1                                    INTRODUCTION
   2         Respondents have failed to comply with the Court’s summary judgment
   3   order (the “Order”), see Dkt. 353, requiring Petitioners to now return to this Court
   4   to compel compliance in two significant respects.
   5         First, Respondents have flatly refused to comply with the Order’s
   6   requirement that Respondents provide a “plain language” notice to class members
   7   of bond hearings scheduled pursuant to the Court’s Order. Despite the fact that the
   8   sufficiency of Respondents’ existing notice procedures was disputed in the parties’
   9   cross-motions for summary judgment, and this Court specifically found that
  10   “Petitioners’ request” for improved notices is consistent with Ninth Circuit case
  11   law and ordered that such “notice must be provided to detainees,” id. at 4,
  12   Respondents have refused to revise their notices. Respondents’ position is
  13   indefensible, and this Court should compel Respondents to provide a notice that
  14   satisfies due process.
  15         Second, Respondents have again unilaterally excluded certain class members
  16   from the benefits of class membership – the fourth group of class members they
  17   have exempted from the class without leave of the Court since the Court’s
  18   preliminary injunction ruling. This time Respondents seek to exclude individuals
  19   who have lost before the Board of Immigration Appeals (“BIA”), but who are still
  20   within the time available for seeking review to the Ninth Circuit. Respondents did
  21   not notify Petitioners of this latest carve-out, even though this Court’s Order
  22   rejected Respondents’ three prior carve-outs as improper and specifically requires
  23   Respondents to notify class counsel of any carve-outs in order to avoid delays in
  24   correcting such misconduct. Instead, Respondents acknowledged the existence of
  25   this fourth carve-out only after counsel for Petitioners learned of it through
  26   conversations with members of the private bar. Because this Court has already
  27   made clear that there are no implied exceptions to the class definition, the Court
  28   should order Respondents to provide hearings to these class members.

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   1         Finally, in light of Respondents’ pattern of noncompliance, Petitioners
   2   respectfully request that this Court require Respondents to disclose certain
   3   electronic and court records relating to the bond hearings conducted pursuant to
   4   this Court’s orders. The Order currently imposes limited reporting requirements
   5   on Respondents, but Petitioners’ experiences over the last few months have made
   6   clear that Petitioners lack sufficient information to meaningfully monitor
   7   Respondents’ conduct to properly identify noncompliance. Class counsel
   8   discovered all four of the improper carve-outs from the class definition solely
   9   through their personal efforts, not through the limited reporting by Respondents.
  10   Because the additional information Petitioners seek is necessary to ensure that
  11   Respondents have not committed, and do not commit, further violations of this
  12   Court’s orders, this Court should modify the reporting requirements to order the
  13   production of this additional information.
  14                                      ARGUMENT
  15   I.    Respondents Must Comply with this Court’s Order Requiring
             Improved Notice.
  16
  17         In its Order granting Petitioners’ motion for summary judgment, this Court
  18   specifically granted Petitioners’ request for improved notice and ordered that
  19   Respondents issue a “plain language” notice to advise class members of their bond
  20   hearings. Yet Respondents have taken the position that their existing notice
  21   procedures meet this requirement. That claim cannot be reconciled with the
  22   parties’ positions on summary judgment and the terms of the Order.
  23         A.     This Court Granted Petitioners’ Request for Improved Notice for
                    Bond Hearings.
  24
  25         In their summary judgment motion, Petitioners sought improvements to the
  26   existing notice procedures for prolonged detention bond hearings, along with
  27   various other changes. See Dkt. 281 at 26 (seeking certain protections “[i]n
  28   addition to the protections already required under the Ninth Circuit’s decisions in

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   1   Casas, Diouf II, and V. Singh.” (emphasis added)). In this regard, Petitioners
   2   sought different relief than that provided by the preliminary injunction, which only
   3   required bond hearing procedures identical to those which apply in Casas and
   4   Diouf hearings. See Dkt. 255 (order granting preliminary injunction); Petitioners-
   5   Appellees’ Ans. Br. at 3 n.1, Rodriguez v. Robbins, 715 F.3d 1127 (9th Cir. 2013),
   6   Dkt. 16 (explaining that Petitioners sought protections currently required by
   7   existing Ninth Circuit case law, but that “Petitioners will shortly move for
   8   summary judgment to seek complete relief on behalf of all class members,
   9   including greater procedural protections at bond hearings for those who already
  10   receive them”).
  11         In particular, Petitioners argued that Respondents should provide more
  12   robust notice more robust than that currently given for Casas hearings. See Dkt.
  13   281 at 40-45. As Petitioners explained in their motion, Respondents’ notice
  14   procedures for Casas “fall far short of clarity, particularly for the substantial
  15   number of detainees who lack counsel and do not speak English or are illiterate.”
  16   Id. at 42; see also id. at 41-43 (citing evidence that substantial numbers of class
  17   members are not proficient in English or are illiterate, lack sufficient access to law
  18   libraries and legal materials, and go unrepresented). In support of their claim for
  19   improved notice, Petitioners attached Respondents’ existing notice for Casas
  20   hearings and explained that it “neither sufficiently advises detainees of how to
  21   request a hearing nor clearly tells them that they must prepare for it by submitting
  22   the necessary legal arguments and evidence.” Id. at 44; see also id. at 40
  23   (“Respondents’ notice neither adequately informs detainees how to request the
  24   hearing nor tells them what the hearing entails.”); id. at 43-44 (arguing that the
  25   notice’s citation to the Immigration Court Manual is of little help to detainees). In
  26   sum, Petitioners argued that Respondents’ failure to provide a “plain language”
  27   explanation of the bond hearing process and detainees’ rights, including the right to
  28   present evidence, raises due process concerns because “[d]etailed documentary and

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   1   testimonial evidence ‘can be critically important to establishing a client’s fitness
   2   for release and to obtaining a reasonable bond amount.’” Id. at 44 (citation
   3   omitted).
   4         In their cross-motion for summary judgment, Respondents specifically
   5   opposed Petitioners’ request for a “plain language” notice. See Dkt. 299 at 40, 50-
   6   53 (“The Court should also reject Petitioners’ request that the Court order
   7   Respondents to provide notice of eligibility for Casas hearings in ‘plain language’
   8   . . . .”); Dkt. 330 (opposing Petitioners’ request for the “provision of ‘plain
   9   language’ notice of such automatic hearings”). Respondents defended their
  10   existing notice procedures at length, disputing Petitioners’ evidence that class
  11   members suffer from illiteracy, limited English proficiency, and restricted access
  12   to legal materials, and contesting Petitioners’ argument that class members could
  13   not “understand the procedures for a bond hearing set in the Immigration Court
  14   Manual” because, Respondents argued, its “language is not ‘highly technical.’” Id.
  15   at 66-67.
  16         In its Order, this Court unambiguously granted Petitioners’ request for
  17   improved notice. The Court began by observing that Petitioners had requested
  18   “four additional procedural safeguards” beyond “the procedural requirement for a
  19   Casas bond hearing,” including that “the notice of the hearing be provided to each
  20   detainee in plain language, reasonably calculated to inform a person unfamiliar
  21   with the English and the United States legal system of the pendency of the
  22   hearing.” Dkt. 353 at 3-4. The Court concluded that “Petitioners’ request that . . .
  23   the notice to detainees of the bond hearings be provided in plain language [is]
  24   consistent with the due process concerns of Casas, Singh, and Rodriguez II,” and
  25   “[a]ccordingly, comprehendible notice must be provided to detainees for that
  26   notice to pass constitutional review.” Id. at 4. The Court then specifically ordered
  27   Respondents to “provide written notice, in plain language, to the detainee of his or
  28   her upcoming bond hearing.” Id. at 5.

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   1         B.     Respondents Have Refused to Comply with this Court’s Order
                    Requiring Improved Notice Consistent with Due Process.
   2
   3         Despite this Court’s clear orders, Respondents refuse to alter their existing
   4   notice procedures. Respondents stand in willful defiance of this Court’s Order.
   5         Following the issuance of the Order, the parties agreed to negotiate a revised
   6   notice that complies with this Court’s Order. However, Respondents subsequently
   7   changed course and refused to negotiate, claiming that they were under to no
   8   obligation to change the notice procedures that this Court found deficient.1
   9   Respondents claim that the sufficiency of the current notice was not before this
  10   Court at summary judgment because Respondents currently use a different form of
  11   notice for Rodriguez hearings than for Casas hearings. This argument is a non
  12   sequitur. At summary judgment, Casas provided the legal framework for
  13   evaluating the prolonged detention of class members. As a result, the parties
  14
       1
  15     Following the issuance of the Order, the parties met and conferred by phone on
       August 30, 2013. Kaufman Decl. ¶ 11. The parties agreed to negotiate a revised
  16
       notice, although Respondents did not concede that the Court’s Order required any
  17   such change. The parties further agreed that counsel for Petitioners would prepare
       the initial draft, which the parties would then use as the basis for further
  18
       negotiations. Id. at ¶ 12. On September 10, 2013, class counsel provided
  19   Respondents with a draft revised notice, and requested that Respondents provide
  20   their position by September 17 to ensure that, if necessary, the matter would be
       timely resolved by this Court. Id. at ¶ 15. On September 12, 2013, Respondents
  21   stated that they were reviewing the draft notice and insisted that Petitioners had to
  22   complete the negotiations before bringing the matter to the Court’s attention. Id.
       (claiming a motion would be “premature”).
  23          Shortly thereafter, Petitioners learned that Respondents never intended to
  24   comply with the notice requirements of the Order or negotiate the contents of a
       revised notice. In a September 18, 2013 email, Respondents abruptly announced
  25   that they would not engage in negotiations over a revised notice, asserting that the
  26   existing notice was entirely sufficient. Respondents provided no explanation for
       why they previously agreed to negotiate a draft revised notice and had threatened
  27   to oppose a motion concerning the notice as “premature” unless the parties
  28   completed negotiations. See Kaufman Decl. at ¶¶ 16-17.

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    1   necessarily focused their briefing on the sufficiency of the Casas procedures,
    2   rather than the temporary procedures adopted by Respondents under the
    3   preliminary injunction (or any anticipated procedures adopted under the permanent
    4   injunction). Petitioners had no way to predict the precise form of notice
    5   Respondents would adopt, which is why Petitioners asked this Court to set certain
    6   minimum requirements for any such notice.
    7         Equally important, the notice currently provided for Rodriguez hearings is
    8   even more deficient than the Casas notice Petitioners challenged at summary
    9   judgment. Similar to the Casas notice, the current Rodriguez notice is not written
  10    in “plain language,” and does not explain “what the [bond] hearing entails” or that
  11    class members “must prepare for it by submitting the necessary legal arguments
  12    and evidence.” Dkt. 281 at 40-44. Compare Kaufman Decl. Ex. J (Rodriguez
  13    notice) with id. Ex. I (Casas notice). The Casas notice actually contains more
  14    protections than the Rodriguez notice because it includes a reference to the
  15    Immigration Court Manual chapter on bond hearings, which provides some – albeit
  16    limited – information on the hearing process and about detainees’ rights. It is also
  17    discloses ICE’s purported basis for ordering detention, which can provide
  18    recipients with notice of at least some of the factors (including danger and flight
  19    risk) that will be considered in evaluating fitness for release.
  20          By contrast, the Rodriguez notice omits even these minimal protections; it
  21    contains no meaningful information other than the timing and location of hearings.
  22    See Kaufman Decl. Ex. J (current notice samples). Respondents cannot explain
  23    how a notice that contains fewer protections than the Casas notice could possibly
  24    comply with this Court’s Order requiring a notice with more protections than the
  25    Casas notice.
  26
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    1         Consequently, Petitioners respectfully request that this Court direct
    2   Respondents to implement the revised notice submitted by Petitioners for bond
    3   hearings conducted under the Order. See Proposed Order.2
    4   II.   Respondents Have Violated the Permanent Injunction by Unilaterally
              Narrowing the Class Definition Without Justification for the Fourth
    5         Time Without Notice to Petitioners or the Court.
    6         For the fourth time, Respondents have unilaterally narrowed the class
    7   definition by denying bond hearings to a group of class members who have been
    8   detained for more than six months. Respondents have done so without providing
    9   any advance notice to Petitioners, as required by the Court’s Order. The Court
  10    should clarify, once again, that the class definition does not contain implied
  11    exclusions, direct Respondents to identify any other undisclosed exclusions, and
  12    remind Respondents of their obligation to notify class counsel before
  13    implementing new exclusions.
  14          A.     The Court Previously Rejected Respondents’ Unilateral Exclusion
                     of Three Groups of Class Members From the Class Definition.
  15
  16          To understand the egregiousness of Respondents’ conduct, it is helpful to
  17    revisit the history of the three prior unilateral exclusions Respondents implemented
  18    without notifying Petitioners or this Court. In all three of these prior instances, the
  19    Court rejected Respondents’ attempt to exclude individuals from the class, and it
  20    should do the same with Respondents’ fourth attempted exclusion.
  21          This Court entered a preliminary injunction requiring that Respondents
  22    provide bond hearings for two subclasses on September 13, 2012. Dkt. 255.
  23    Shortly after the start of bond hearings pursuant to the preliminary injunction,
  24    2
          In a September 18, 2013 email, counsel for Respondents also claimed that
  25    Petitioners’ revised notice contained “misstatements of law.” That same day, class
  26    counsel emailed counsel for Respondents and requested that Respondents identify
        the misstatements so that they could remove any erroneous language from the
  27    notice they intended to submit to this Court. To date, Respondents have not
  28    responded to this request. See Kaufman Decl. at ¶ 18.

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    1   Petitioners became aware that certain groups of class members were systematically
    2   being treated as ineligible for bond hearings despite the preliminary injunction.
    3   Class counsel contacted Respondents about these apparent violations in November
    4   2012. Over the following weeks and months, class counsel provided Respondents
    5   with multiple examples of class members unlawfully denied bond hearings.
    6   Following numerous additional telephone conferences and email exchanges, on
    7   approximately January 23, 2013, Respondents finally informed Petitioners that
    8   Respondents had unilaterally reclassified three groups of individuals as falling
    9   outside the class definition approved by the Court. See Kaufman Decl. at ¶¶ 2-6.
  10          On April 16, 2013, the Ninth Circuit affirmed this Court’s preliminary
  11    injunction order in full. Rodriguez v. Robbins, 715 F.3d 1127 (9th Cir. 2013). Not
  12    long thereafter, the parties completed briefing on cross-motions for summary
  13    judgment. In connection with summary judgment, Petitioners also filed a motion
  14    to address Respondents’ ongoing refusal to treat the three groups of class members
  15    as within the class definition. See Dkt. 336. Petitioners styled it as a Motion for
  16    Clarification out of concern that Respondents would continue to take the position
  17    that they had the ability to redefine the scope of the class as they saw fit without
  18    notice to Petitioners or the Court. Given the apparent “likelihood that Respondents
  19    [would] attempt to identify further individuals who do not qualify as class
  20    members,” Petitioners specifically “request[ed] that the Court require Respondents
  21    to provide notice to Petitioners and the Court when they determine that other
  22    individuals are not class members despite their having been detained for more than
  23    six months without a bond hearing under the general immigration detention
  24    statutes, and do not otherwise fall within one of the three expressly enumerated
  25    exceptions in the class definition.” Id. at 15-16.
  26          This Court issued its Order granting in part Petitioners’ motion for summary
  27    judgment and granting the motion for clarification on August 6, 2013. Dkt. 353.
  28    The Court admonished Respondents for narrowing the class definition by inventing

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    1   three exceptions to the class definition, finding that “[t]he Court provided for no
    2   exceptions to the definitions of class membership, yet Respondents have
    3   unilaterally excluded certain detainees.” Id. at 2. The Court ordered that there “are
    4   no exceptions, express or implied, to the class membership definitions” and held
    5   that the three categories of persons excluded by Respondents always had been
    6   class members. Id.
    7         To prevent similar exclusions from occurring, the Court further ordered
    8   Respondents to notify Petitioners of any additional groups of detainees that
    9   Respondents believed fell outside of the class definition, rather than deciding in
  10    secret on their own to exclude such individuals. See id. at 5-6 (“If Respondents
  11    determine that an individual is not a class member even though that individual (a)
  12    is detained in Respondents’ custody within the Central District, (b) has been
  13    detained by Respondents for six months or longer, (c) is not detained under 8
  14    U.S.C. § 1226a or 8 U.S.C. § 1531-37, and (d) remains detained even though the
  15    government does not have present authority to deport that individual, Respondents
  16    shall notify class counsel of that individual’s circumstances and the reason
  17    Respondents believe that individual is not a class member.”).
  18          B.     Respondents Have Unilaterally Excluded a Fourth Group of
                     Persons from the Class Without Advance Notice to Petitioners or
  19                 the Court.
  20          Since issuance of the Order, Petitioners have discovered that Respondents
  21    have been denying bond hearings to a fourth group of individuals: persons who
  22    have had lost their immigration cases at the BIA, but who remain within the 30-day
  23    window for filing a petition for review with the Ninth Circuit. As a result,
  24    Respondents have detained such individuals for longer than six months without
  25    providing them with bond hearings.
  26          At Petitioners’ insistence, the parties met and conferred by phone on August
  27    30, 2013 to discuss this and other issues. Despite the fact that this Court
  28    specifically ordered Respondents to notify Petitioners before implementing such

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    1   exclusions, Respondents only acknowledged the existence of this exclusion after
    2   Petitioners offered evidence of its existence. On September 18, 2013, Respondents
    3   stated that the excluded class members did not fall within the class definition
    4   because of a supposed loophole that made them subject to immediate removal
    5   during the window between when the BIA affirms an order of removal and when a
    6   class member either files an appeal to the Ninth Circuit or waives that right.
    7   Petitioners never explained why they did not simply deport these individuals given
    8   their position that they have the legal authority to do so, and they have never
    9   explained why they implemented a fourth exclusion without notifying class
  10    counsel, as required by the Order. See Kaufman Decl. at ¶¶ 10-11, 16.
  11          This latest purported exclusion from the class definition is no more
  12    defensible than the three prior carve-outs rejected by the Court in the Order. There
  13    are at least three fatal flaws with Respondents’ latest attempt to create a loophole
  14    in the class definition. First, this group of individuals is not explicitly exempted
  15    from the class definition. See Dkt. 111 at ¶¶ 105-08 (Third Amended Complaint);
  16    see also Dkt. 85.3 The Court has made plain that “there are no exceptions, express
  17    or implied, to the class membership definitions” (Dkt. 353 at 2), yet Respondents
  18    persist in inventing exceptions without notice to Petitioners or the Court.
  19          Second, Respondents’ loophole is impractical and would create deeply
  20    problematic incentives in the administration of the removal system. Respondents
  21    contend that they can deny bond hearings to individuals whose 180th day of
  22    detention arises during the narrow gap after the BIA’s decision but before the 30-
  23
  24    3
          The carve-outs are for: (1) individual “detained pursuant to the one of the national
  25    security detention statutes at 8 U.S.C. 1226a and 8 U.S.C. 1531-37”;
        (2) individuals subject to “a final order of removal and no stay of that removal
  26    order, such that the government has legal authority to remove them”; and
  27    (3) “juveniles … held under the care of the Office of Refugee Resettlement.” Dkt.
        111 at ¶¶105-08.
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    1   day appeal period has run. In Respondents’ view, such individuals temporarily
    2   cease being class members because they allegedly become subject to immediate
    3   deportation upon the issuance of the BIA’s decision, even if the detainee intends to
    4   file an appeal and is taking steps to appeal – including by preparing the relevant
    5   documents or attempting to obtain legal representation for an appeal – and even if
    6   the detainee has not yet received notice of the BIA’s decision. But such a system
    7   would force individuals and their lawyers to race to the Ninth Circuit to preserve
    8   statutorily-protected appellate rights lest DHS attempt to deport them before they
    9   could file a notice of appeal. And such a system would be patently unfair, as
  10    individuals often do not receive actual notice of BIA’s decisions for several days.4
  11          Moreover, Respondents’ position would routinely result in several-day gaps
  12    in class membership. While Respondents claim that a detainee loses class member
  13    status immediately upon issuance of a BIA denial, they concede that once
  14    detainees file petitions for review and request stays of removal from the Ninth
  15    Circuit, they automatically rejoin the class. As a result, on Respondents’ view,
  16    class members routinely lapse in and out of class membership as their cases
  17    progress from the BIA to Ninth Circuit. There is no support for such gaps in the
  18    class definition, which would result in many class members not obtaining a bond
  19    hearing until they are approaching their seventh month in detention.
  20          Third, and perhaps most important, Respondents’ position cannot be squared
  21    with the applicable immigration statutes as interpreted by the Ninth Circuit, and in
  22    particular Prieto-Romero v. Clark, 534 F.3d 1053 (9th Cir. 2008). Respondents
  23    contend that they have legal authority to deport class members immediately upon
  24
        4
  25     Again, if the government’s position were correct, one would expect that it would
  26    actually deport individuals during this 30-day period, and therefore that one would
        not typically see such individuals in detention centers, at least if they are from
  27    countries such as Mexico, El Salvador, and others to which deportations occur
  28    frequently.

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    1   issuance of the BIA’s decision because, they assert, the statutory “removal period”
    2   begins at that time. Under the immigration laws, the government attains authority
    3   to deport individuals in custody only after the individual is ordered removed and
    4   enters the “removal period,” a 90-day period of time during which the government
    5   is mandated to “remove” the detainee from the United States. See 8 U.S.C.
    6   § 1231(a)(1). The “removal period” is statutorily defined to begin upon the
    7   “latest” of three triggering events:
    8         (i)The date the order of removal becomes administratively final.
              (ii) If the removal order is judicially reviewed and if a court orders a
    9         stay of the removal of the alien, the date of the court’s final order.
              (iii) If the alien is detained or confined (except under an immigration
  10          process), the date the alien is released from detention or confinement.
  11    8 U.S.C. § 1231(a)(1)(B).
  12          In Prieto-Romero, the Ninth Circuit rejected the construction of the
  13    “removal period” that Respondents put forward here. The Ninth Circuit explained
  14    that Congress could not have intended for the removal process to operate in fits
  15    and starts depending on whether and when individuals filed petitions for review or
  16    sought stays with the Ninth Circuit:
  17          The provision [defining the start of the “removal period”] is inartfully
              drafted, as one cannot say when the “latest” of the three events will
  18          occur until those events have either taken place or it is known that they
              can no longer ever take place. Consequently, the time between an
  19          alien’s filing of a petition for review and this court’s issuance of a stay
              of removal falls within a lacuna in the statutory text. We consider it
  20          unlikely that Congress would have intended that DHS’s removal efforts
              begin as soon as an alien’s removal order is administratively final, see §
  21          1231(a)(1)(B)(i), terminate when this court stays removal, see §
              1231(a)(1)(B)(ii), and begin anew if and when we finally deny the
  22          petition for review. The more sensible reading of the statute is that if an
              alien files a timely petition for review and requests a stay, the removal
  23          period does not begin until the court of appeals (1) denies the motion
              for a stay or (2) grants the motion and finally denies the petition for
  24          review.
  25    Id. at 1259 n.5.
  26          While the petitioner in Prieto-Romero had already filed a petition for review
  27    and stay of removal, the Ninth Circuit’s holding and reasoning apply with equal
  28    force here. Like an individual awaiting a decision on a stay request, class members

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    1   who are within the 30-day period to file a petition for review fall within the
    2   “lacuna” in the statutory definition of “removal period”: “one cannot say when the
    3   ‘latest’ of the three events will occur until those events have either taken place or it
    4   is known that they can no longer ever take place.” Id. at 1259 n.5. Until the 30-
    5   day period for class members to seek review in the Ninth Circuit expires, their
    6   removal orders are “administratively -- but not judicially -- final” because it is
    7   impossible to determine whether they will appeal and obtain stays. Id. at 1060
    8   (emphasis in original). Respondents’ reading of “removal period” would create
    9   precisely the type of unworkable scheme the Prieto-Romero court concluded
  10    Congress could not have intended. If Respondents were correct, removal efforts
  11    should “begin as soon as an alien’s removal order is administratively final,”
  12    “terminate” once class members requested stays, “and begin anew if and when” the
  13    Ninth Circuit denied review. Id. at 1259 n.5.
  14          Accordingly, for the reasons identified by the Ninth Circuit in Prieto-
  15    Romero, detainees who are within the 30-day window for filing an appeal to the
  16    Ninth Circuit should be considered class members (i.e., not within the “removal
  17    period”) until they waive their right to appeal, whether affirmatively or through
  18    inaction within the 30 day period. Treating these people as class members avoids
  19    the illogical result that people can fall in and out of the class during a 30-day
  20    window of time, and will prevent the government from detaining class members
  21    for longer than six months without bond hearings – the basic principal at the heart
  22    of this Court’s Order.
  23          Respondents may argue that such class members should not be entitled to
  24    bond hearings because some may ultimately choose not to file a petition for review
  25    or may not receive a stay from the Ninth Circuit. But these are issues that an
  26    immigration judge can take into account during a bond hearing – they are not
  27    reasons to categorically deny class members bond hearings outright. In many
  28    cases, class members (through counsel or in pro per) will be able to explain the

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    1   grounds for a petition for review and stay, which the immigration judge can weigh
    2   when deciding whether to permit release on bond. Immigration judges routinely
    3   consider such factors when making flight risk determinations.
    4          Finally, even if Respondents could defend their 30-day loophole,
    5   Respondents violated their obligation to notify class counsel of the exclusion of
    6   this fourth group of persons from the class. This Court specifically ordered
    7   Respondents to notify Petitioners of any such categorical exclusions, and provide
    8   an explanation for such exclusion, to ensure that any disputes could be timely
    9   resolved. Rather than notify Petitioners of the exclusion, Respondents asked
  10    Petitioners to produce evidence of the exclusion before confirming its existence, let
  11    alone explaining their purported rationale. These delay tactics resulted in the
  12    unnecessary violation of numerous class members’ rights. Consequently, the
  13    Court should direct Respondents to submit a declaration from a person most
  14    knowledgeable either: (1) confirming that no other exclusions exist beyond the
  15    four identified to date by class counsel; or (2) identifying (a) each and every
  16    purported exception that Respondents believe entitle them to detain class members
  17    for longer than six month without a bond hearing, (b) the basis for each and every
  18    such exclusion, and (c) the individuals impacted by each and every such exclusion
  19    since this Court’s preliminary injunction or the Order, as applicable.
  20    III.   This Court Should Order Respondents to Disclose Sufficient
               Information to Permit Petitioners to Monitor Respondents’ Compliance
  21           with the Permanent Injunction.
  22           Given Respondents’ persistent compliance problems, Petitioners respectfully
  23    request that this Court grant Respondents greater access to information needed to
  24    more efficiently and effectively monitor Respondents’ compliance with the Court’s
  25    permanent injunction. Specifically, Petitioners request access to (1) a limited set
  26    of electronic database information about class members; (2) electronically-stored
  27    audio recordings of bond hearings that occurred pursuant to the Order; and
  28

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    1   (3) certain class members’ immigration court files.5 Petitioners’ informal
    2   investigatory techniques have uncovered repeated instances of non-compliance, but
    3   at great expense and effort, and with no reasonable assurance that other violations
    4   have not gone undetected. Unless the Court orders Respondents to provide the
    5   requested information, Petitioners will not be able to adequately monitor
    6   compliance, and the rights of class members will continue to be in jeopardy.
    7         The Order currently obligates Respondents to produce certain limited
    8   information about bond hearings. First, Respondents must provide class counsel
    9   with copies of bond hearing notices at the same time they are provided to class
  10    members. See Dkt. 353 at 5. Second, Respondents must provide status reports to
  11    the Court and class counsel that contain the following information: “each class
  12    member’s name and alien number, the date of any scheduled or completed bond
  13    hearing, whether the class member is or was represented, the Immigration Judge
  14    who conducted or will conduct the hearing, the bond amount set, if any, and
  15    whether any appeal has been taken.” Id. at 5.6
  16          While this information is helpful to confirm that bond hearings are being
  17    scheduled, Petitioners currently lack any practical means of monitoring whether
  18    (1) Respondents treat class members as ineligible for bond based on undisclosed
  19    exceptions to the class definition (either by refusing to schedule them for bond
  20    hearings, or by finding them ineligible at the hearing); or (2) Respondents conduct
  21    bond hearings in a manner that complies with this Court’s Order.
  22
  23
  24
        5
  25      As explained below, Petitioners do not request production of every single class
  26    member’s court file, but instead the right to obtain those files where review of
        electronically-stored information suggests a potential compliance failure.
  27    6
          The Court stayed the reporting requirement for the duration of the partial
  28    government shutdown. See Dkt. 364.

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              A.     Petitioners Have Attempted to Monitor Respondents’
    1                Compliance, but Cannot Do So With the Limited Information
                     Disclosed by Respondents.
    2
    3         Despite repeated attempts, Respondents have refused to disclose sufficient
    4   information that would enable Petitioners to monitor Respondents’ compliance
    5   with this Court’s orders.
    6         In anticipation of the start of bond hearings under the preliminary injunction,
    7   on October 22, 2012, Petitioners first contacted Respondents to request certain
    8   database information about those hearings so that Petitioners could monitor
    9   Respondents’ compliance. Respondents refused to provide the requested
  10    information, instead offering to provide copies of bond hearing notices sent to class
  11    members. Respondents began providing such notices on November 6, 2012, after
  12    an unknown number of bond hearings already had been conducted. See Kaufman
  13    Decl. at ¶¶ 2-3.
  14          Petitioners attempted to monitor compliance with the preliminary injunction,
  15    but this proved challenging for several reasons and, as a result, Petitioners were
  16    unable to confirm Respondents’ unilateral exclusions of detainees from the class
  17    definition, see supra Section II, until long after the fact. First, Respondents
  18    routinely produced bond hearing notices only a day or two before hearings – or in
  19    numerous cases, after hearings had already occurred – making it impossible for
  20    counsel for Petitioners to attend hearings in person.
  21          Second, even when Respondents provided sufficient advanced notice of
  22    hearings, attending in person proved unworkable. The court scheduling system,
  23    and the sheer volume of hearings conducted (approximately four hundred between
  24    November 2012 and March 2013), impedes class counsel’s ability to effectively
  25    and efficiently monitor compliance with the Order. The immigration courts
  26    schedule bond hearings on calendars that include, in an undifferentiated fashion,
  27    numerous other unrelated hearings. A notice might set a bond hearing, for
  28    example, on a Thursday at 8:00 a.m., but the bond hearing might not occur until

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    1   after a lunch recess. Attending a single bond hearing thus can require waiting
    2   through hours of unrelated matters. This challenge is compounded by the fact that
    3   multiple bond hearing can occur on the same day before different immigration
    4   judges, requiring Petitioners to marshal multiple persons to monitor hearings.
    5         Third, the notices only provided information about the persons whom
    6   Respondents had initially identified as class members and scheduled for bond
    7   hearings. Petitioners therefore had no way to monitor whether Respondents had
    8   properly identified all eligible class members for bond hearings. Additionally,
    9   because Respondents disclosed no information about appeals of bond
  10    determinations taken by detainees or the government, Petitioners had no readily
  11    accessible means of determining the outcome of many class members’ bond
  12    hearings, including the BIA’s determinations regarding class eligibility and
  13    construction of the class definition. See Kaufman Decl. at ¶¶ 2-5.
  14          In the face of these difficulties, Petitioners supplemented in-person
  15    monitoring of bond hearings with informal investigation, including interviews of
  16    immigration bar practitioners and interviews of class members, all in an effort to
  17    monitor Respondents’ compliance. Through these considerable efforts, Petitioners
  18    were able to determine that Respondents had unilaterally excluded certain
  19    categories of class members from the class definition, but only after several months
  20    of investigation and meet and confers with Respondents. During this time,
  21    Petitioners renewed their request for information that would enable them to
  22    immediately identify such improper practices. For example, on February 19, 2013,
  23    Petitioners wrote Respondents that “we cannot be satisfied by Respondents’
  24    assurances that they intend to comply with the order. We have received such
  25    assurances before, and yet we continue to discover ongoing cases of
  26    noncompliance.” Petitioners thus asked for “information from EOIR’s bond
  27    hearing table regarding class members’ bond hearings.” Respondents again
  28    refused to provide this information. See Kaufman Decl. at ¶¶ 6-7.

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    1         The lack of transparency regarding Respondents’ purported compliance,
    2   however, grew worse. For instance, at the Ninth Circuit hearing on Respondents’
    3   appeal of the preliminary injunction, counsel for Respondent represented that
    4   “[t]here have been approximately 400 bond hearing under the PI, and I believe that
    5   something close to two-thirds of those aliens have been released on bond” –
    6   exactly the type information that Respondents had previously refused to disclose to
    7   Petitioners. See Oral Argument at 33:07, Rodriguez v. Robbins, 715 F.3d 1127
    8   (No. 12-56734), available at http://cdn.ca9.uscourts.gov/datastore/
    9   media/2013/03/04/12-56734.wma.7 In light of the representation to the Ninth
  10    Circuit, Petitioners again renewed their request for information about Respondents’
  11    purported compliance with the preliminary injunction. But Respondents still
  12    refused, claiming the information was irrelevant. See Kaufman Decl. at ¶ 8.8
  13
  14    7
          The Ninth Circuit relied on these statistics in its opinion upholding this Court’s
  15    order. See Rodriguez v. Robbins, 715 F.3d 1127, 1146 n.2 (9th Cir. 2013) (“At
        oral argument, government counsel represented that, since bond hearings began in
  16    mid-November of 2012, about 400 hearings have been conducted under the district
  17    court’s order. Government counsel stated that about two-thirds of those hearings
        resulted in the release of the alien on bond.”); id. at 1146 (rejecting the
  18    “government’s arguments regarding the resources required to implement the
  19    injunction” as “not compelling” because “[h]undreds of hearings have already
        occurred under the district court’s order, belying any suggestion that the
  20    preliminary injunction is prohibitively burdensome”).
        8
  21      On June 25, 2013, Petitioners filed a discovery motion to compel production of
  22    the requested database information on two grounds: (1) that Respondents had an
        obligation under Federal Rule of Civil Procedure 26 to disclose the basis for the
  23    information on which they relied at the Ninth Circuit hearing; and (2) that,
  24    regardless of whether Rule 26 required the disclosure, the Court should order
        disclosure of the information to ensure that Petitioners can adequately monitor
  25    compliance. See Dkt. 345. On June 28, 2013, Magistrate Judge Block denied the
  26    motion. Dkt. 346. Judge Block ruled that Rule 26 did not mandate disclosure, and
        that “[t]o the extent that Petitioners believe the information sought is necessary to
  27    insure respondents’ compliance with the preliminary injunction order, they should
  28    take that issue up with the District Judge.” Id. In light of this ruling, Petitioners
                                                                                        (cont’d)

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    1         At summary judgment, Petitioners sought – and obtained – certain limited
    2   database information regarding the conduct of bond hearings. The Court’s Order
    3   required Respondents to furnish the Court and Petitioners’ counsel with certain
    4   information periodically: a status report with basic information about bond
    5   hearings. See id. at 5 (requiring the status report to include “each class member’s
    6   name and alien number, the date of any scheduled or completed bond hearing,
    7   whether the class member is or was represented, the Immigration Judge who
    8   conducted or will conduct the hearing, the bond amount set, if any, and whether
    9   any appeal has been taken”). The reports are to be made quarterly until August
  10    2015. Respondents already have sought and received an extension of the deadline
  11    to provide the first status report in light of the partial shutdown of the federal
  12    government. See Dkt. 364.
  13          While this information will be helpful in tracking the scheduling and
  14    outcome of bond hearing, Petitioners still remain without any readily accessible
  15    means of monitoring the conduct of the bond hearings themselves. For the reasons
  16    described supra, class counsel cannot personally attend immigration proceedings
  17    to ensure ongoing compliance. Personal attendance is incredibly expensive, and
  18    class counsel was not able to identify the violations already brought to this Court’s
  19    attention despite attending numerous hearings. The status reports will disclose
  20    data regarding bond amounts set at bond hearings, but that reveals nothing about
  21    how immigration judges arrived at decisions, including the standard applied, the
  22    evidence considered, and any legal rulings regarding eligibility for a bond hearing.
  23          B.     This Court Should Order the Disclosure of Sufficient Information
                     to Monitor Respondents’ Compliance.
  24
              To facilitate the essential monitoring of Respondents’ conduct of bond
  25
        hearings under the Court’s Order, Petitioners should be granted access to three
  26
  27    elected to confirm the extent of Respondents’ noncompliance with the Order and
  28    present these issues by way of this Motion.

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    1   additional sets of information.
    2         First, Respondents should produce in their status reports information from
    3   electronic databases that will provide a fuller account of bond hearings conducted
    4   pursuant to the preliminary and permanent injunctions,9 including: whether a
    5   detainee was found eligible for a Rodriguez hearing; the outcome of any appeal of
    6   a bond decision; whether a class member actually bonded out from detention
    7   (including the date on which the bond was posted, the date of the class member’s
    8   release, and contact information for the class member and/or his attorney if
    9   Respondents possess it). As should be clear, information related to the outcome of
  10    bond hearings and any appeals (including whether a class member is able to post
  11    bond and be released) is critical to understanding whether bond hearings are
  12    conducted in compliance with this Court’s orders. Likewise, it is essential that
  13    class counsel have contact information for class members, in the event that
  14    information reveals that their rights may have been violated. And because all of
  15    this information is maintained in the electronic databases Respondents already will
  16    use to prepare status reports, requiring Respondents to include this information will
  17    result in no material additional burden.
  18          Second, Petitioners should be granted access to electronically-stored audio
  19    recordings of class members’ bond hearings that occur pursuant to the Court’s
  20    orders. Respondents routinely record immigration court proceedings, and are
  21    required to record class members’ bond hearings under this Court’s orders and
  22    governing case law. See v. Singh v. Holder, 638 F.3d 1196 (9th Cir. 2011). The
  23    bond audio recordings are the best evidence of what actually happens at bond
  24    9
          This monitoring information must be provided retrospectively, as well as
  25    prospectively, to enable Petitioners to determine whether additional class
  26    members’ rights have been violated in the past. To the extent that Petitioners
        uncover such additional violations, Respondents have an obligation to remedy the
  27    past violations for class members who remain detained in contravention of their
  28    rights.

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    1   hearings. Short of sending observers, there is no other way for Petitioners to
    2   determine whether Respondents are complying with the permanent injunction.
    3   Without the audio recordings, for instance, Petitioners cannot determine if
    4   immigration judges were denying bonds based on other carve-outs from the class
    5   definition or refusing to apply the standard of proof specified by the Order.
    6         Requiring Respondents to permit review of the audio recordings does not
    7   impose a substantial burden. The recordings are routinely maintained in
    8   immigration cases. 8 C.F.R. § 1240.9. Respondents produce the electronic records
    9   in response to FOIA requests or requests to the immigration court.       See Kaufman
  10    Decl. at ¶ 21. During the meet and confer process, Respondents claimed that there
  11    would be burden associated with reviewing the audio recordings for privileged or
  12    confidential information, but these electronic recordings routinely are made
  13    available to class members and their counsel who file individual requests with the
  14    immigration court. Moreover, recordings of bond hearings constitute “public
  15    records” because the hearings are open to the public, which is why they are subject
  16    to disclosure under FOIA. See Detroit Free Press v. Ashcroft, 303 F.3d 681, 700
  17    (6th Cir. 2002) (“there is a First Amendment right of access to deportation
  18    proceedings”); Cottone v. Reno, 193 F.3d 550, 554 (D.C. Cir. 1999) (holding that
  19    “[u]nder our public-domain doctrine, materials normally immunized from
  20    disclosure under FOIA lose their protective cloak once disclosed and preserved in
  21    a permanent public record.” “[T]apes played in open court and admitted into
  22    evidence -- no less than the court reporter’s transcript, the parties’ briefs, and the
  23    judge’s orders and opinions -- remain a part of the public domain.”). Any
  24    statements made or information disclosed in a court proceeding open to the public
  25    “sheds” its privilege. See Cottone, 193 F.3d at 554. It makes no sense for
  26    Respondents to assert confidentiality or privilege concerns about bond hearing
  27    recordings when the hearings themselves are open to the public. If for some reason
  28    a bond hearing provided under the Court’s permanent injunction were closed to the

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    1   public, Respondents could produce the recording subject to the robust protective
    2   order that governs this case.
    3         Third, Petitioners should be granted access to the immigration court files of
    4   certain class members, which are also public records. An immigration court file
    5   contains all documents filed with the immigration court in a class members’ case,
    6   including documents filed by the class member and the government in connection
    7   with bond hearings. See Kaufman Decl. at ¶21. In combination with audio
    8   recordings of hearings, these records would provide Petitioners with vital context
    9   to investigate suspected instances of noncompliance. Respondents cannot
  10    complain of burden regarding these documents, because immigration court files
  11    consist of documents filed in open court and thus are in the public domain and
  12    subject to FOIA requests. Petitioners also are not asking that Respondents produce
  13    all class member immigration files. Instead, Petitioners ask only that the Court
  14    authorize Petitioners to request copies of class members’ immigration files in cases
  15    where audio recordings reveal potential issues with noncompliance.
  16                                      CONCLUSION
  17          For the foregoing reasons, Petitioners request that the Court grant this
  18    motion, adopt its proposed draft notice for Rodriguez bond hearings, clarify that
  19    the latest group of individuals that Respondents have sought to exclude from the
  20    class are class members (and, again, that the class definition admits of no
  21    exceptions beyond those explicitly stated), and grant Petitioners access to
  22    additional information in order to more efficiently and effectively ensure
  23    compliance with the Court’s orders.
  24                                           Respectfully submitted,
  25                                           ACLU OF SOUTHERN CALIFORNIA
  26    Dated: October 11, 2013                 /s/ Michael Kaufman
                                               MICHAEL KAUFMAN
  27                                           Counsel for Petitioners
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